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                                 UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                       CASE NO. 14-80468-CV-MIDDLEBROOKS/BRANNON

    SECURITIES AND EXCHANGE COMMISSION,

                                   Plaintiff,

    v.

    JCS ENTERPRISES, INC. d/b/a JCS
    ENTERPRISES SERVICES, INC., T.B.T.I., INC.,
    JOSEPH SIGNORE, and PAUL L. SCHUMACK, II,

                                   Defendants.

    ____________________________________________/

                  SECOND REPORT OF RECEIVER JAMES D. SALLAH, ESQ.

           I, James D. Sallah, Esq., not individually, but solely in my capacity as the Court-appointed

    receiver (the “Receiver”) for JCS Enterprises Inc., d/b/a JCS Enterprises Services Inc. (“JCS”),

    T.B.T.I., Inc. (“TBTI”), My Gee Bo, Inc. (“Gee Bo”), JOLA Enterprise Inc. (“JOLA”), and PSCS

    Holdings, LLC (“PSCS”), their affiliates, subsidiaries, successors, and assigns (collectively, the

    “Receivership Entities” or “Estate”) submit this second report regarding the present status of the

    Estate (“Second Report”). Although neither the December 12, 2014 Order Reappointing me as

    Receiver nor the Amended Receivership Order dated April 7, 2014 (collectively, the “Receivership

    Order”) requires me to file status reports, I believe it is prudent at this time to submit this Second

    Report to apprise the Court and all interested parties of my ongoing efforts, and those of my

    professionals, in carrying out my court-ordered obligations.
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                      IMPORTANT – PLEASE READ CAREFULLY

          THE STATEMENTS CONTAINED IN THIS REPORT ARE BASED ON THE MY
    INVESTIGATION CONDUCTED IN THE TIME ELAPSING FROM THE ESTABLISHMENT
    OF THE RECEIVERSHIP. I HAVE COMPILED THIS REPORT BASED ON BOTH MY AND
    MY PROFESSIONALS: (1) REVIEW OF THOUSANDS OF PAGES OF DOCUMENTS,
    INCLUDING EXTENSIVE FINANCIAL RECORDS; AND (2) INTERVIEWS WITH
    NUMEROUS INDIVIDUALS, INCLUDING EMPLOYEES, ACCOUNTANTS, LEGAL
    PROFESSIONALS, VENDORS, INVESTORS, FINANCIAL INSTITUTIONS, AND OTHER
    RELATED PERSONS. THE FACTS AND CONCLUSIONS HEREIN MAY BE SUBJECT TO
    CHANGE AS MY INVESTIGATION PROGRESSES DURING THE COURSE OF THE
    RECEIVERSHIP. OTHER THAN THE AMOUNTS CONTAINED IN THE BANKS AND/OR
    BROKERAGE INSTITUTIONS, THE VALUE OF MOST OTHER ASSETS HAS YET TO BE
    DETERMINED DEFINITIVELY. AS ADDITIONAL INFORMATION IS DISCOVERED, I
    INTEND TO FILE ADDITIONAL REPORTS FROM TIME TO TIME.
          IN WRITING THIS REPORT, I HAVE ATTEMPTED TO BALANCE THE
    IMPORTANCE OF FULL AND FAIR DISCLOSURE OF MATERIAL INFORMATION WITH
    THE CONCERNS OF THE UNDERLYING BUSINESSES AND ASSETS INFORMATION
    REMAINING CONFIDENTIAL FOR COMPETITIVE REASONS. TO THAT END, I HAVE
    OPTED, IN MOST CASES, TO DISCLOSE A SIGNIFICANT AMOUNT OF FINANCIAL
    INFORMATION     AND   CAUTION    ANY     INDIVIDUALS    OR   ENTITIES   WHO
    INTENTIONALLY MISREPRESENT THE INFORMATION CONTAINED HEREIN IN AN
    EFFORT TO DISPARAGE THE RECEIVERSHIP ENTITIES, OR SEEK TO USE IT
    UNFAIRLY TO GAIN A COMPETITIVE ADVANTAGE, THAT ANY SUCH ACTION MAY
    HAVE SIGNIFICANT LEGAL CONSEQUENCES.
          FINALLY, TO THE EXTENT THAT THE RECEIVERSHIP ENTITIES ARE
    ENGAGED IN LITIGATION, OR ARE EXPLORING POTENTIAL LAWSUITS AGAINST
    INDIVIDUAL OR ENTITIES, I HAVE NOT SET FORTH ALL OF THE INFORMATION
    SURROUNDING THESE LAWSUITS OR POTENTIAL LAWSUITS SO AS NOT TO
    DISCLOSE    PRIVILEGED, WORK PRODUCT            INFORMATION, OR   LITIGATION
    STRATEGY.



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          I.      CURRENT BALANCES IN RECEIVERSHIP ESTATE ACCOUNTS
               As of December 31, 2014, I have obtained the following net cash amounts, which are

    currently segregated into four primary Estate accounts:

                         Receivership Estate Account Balances as of Dec. 31, 2014
        JCS Enterprises Inc.                                                               2,508,677.18
        T.B.T.I., Inc.                                                                       634,082.33
        My Gee Bo, Inc.                                                                    1,112,374.58
        JOLA Enterprise Inc.1                                                                746,698.09
        Balances in Receivership Estate Accounts                                           5,001,832.18


    The table above includes only the cash balances currently maintained in bank accounts under my

    control. It excludes, among other things, tangible assets, real property, personalty, and other liquid

    assets that are also currently under my control.

               In accordance with the Receivership Order and/or this Court’s approval, I have also paid

    certain necessary expenses in carrying out my duties and responsibilities. Specifically, the

    following tables reflect amounts transferred to the Estate accounts and certain disbursements paid

    as of December 31, 2014:




    1
      As explained below, the Receivership was expanded to include two other entities: JOLA
    Enterprise Inc. and PSCS Holdings, LLC.
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        JCS Enterprises Inc. – Receivership Estate Segregated Account as of Dec. 31, 2014
     Receipts
     Turnover of Funds from Frozen Accounts                      2,514,453.03
     A & K Electronic Turnover of funds (segregated)               175,580.00
     Petty Cash Retrieved from JCS headquarters                        102.79
     Various Account Refunds Collected                               9,711.49
     Total Receipts                                                               2,699,847.31
     Disbursements
     Lease Payments                                               (123,877.63)
     Contract Labor & Office Expenses                              (39,866.09)
     Other Expenses                                                (27,426.41)
     Total Disbursements                                                          (191,170.13)
     Balance in JCS Enterprises Inc. Segregated Account                           2,508,677.18



            T.B.T.I., Inc. – Receivership Estate Segregated Account as of Dec. 31, 2014
     Receipts
     Turnover of ATM Profits Due from eGlobal                      108,492.30
     Sale of ATM Business to eGlobal                               200,000.00
     Vault Cash Recovered from ATM Machines                        184,694.00
     Lease Deposit Refund                                            2,836.38
     Turnover of Funds from Frozen Accounts                         19,011.29
     Litigation and Settlements (segregated)                       162,203.00
     Total Receipts                                                                677,236.97
     Disbursements
     Lease Payments                                                 (2,920.30)
     Contract Labor & Office Expenses                               (8,750.50)
     Other Expenses                                                 (3,160.78)
     Coconut Creek Property Expenses                               (28,323.06)
     Total Disbursements                                                           (43,154.64)
     Balance in T.B.T.I., Inc. Segregated Account                                  634,082.33




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             My Gee Bo, Inc. – Receivership Estate Segregated Account as of Dec. 31, 2014
     Receipts
     Turnover of Funds From Frozen Account                            1,116,881.34
     Total Receipts                                                                    1,116,881.34
     Disbursements
     Office Expenses                                                     (4,506.76)
     Total Disbursements                                                                  (4,506.76)
     Balance in My Gee Bo Inc. Segregated Account                                      1,112,374.58



        JOLA Enterprise Inc. – Receivership Estate Segregated Account as of Dec. 31, 2014
     Receipts
     Turnover of Funds From Frozen Account                              746,698.09
     Total Receipts                                                                      746,698.09
     Balance in JOLA Enterprise Inc. Segregated Account                                  746,698.09



       II.      CONCLUSIONS FROM THE FINANCIAL RECONSTRUCTION TO DATE

                A. JCS, TBTI, and GEE BO were Operated as Part of a Ponzi Scheme

             I have concluded that from approximately December 2011 to my appointment in April

    2014, JCS, TBTI, and Gee Bo were utilized to operate an approximately $80.8 million Ponzi

    scheme that involved over 1,800 investors nationwide. This conclusion is based on data and

    reports compiled and provided to me by my forensic accountants, documents and information my

    professionals have received in response to dozens of subpoenas that have been issued to financial

    institutions, entities, individuals, and other third-parties, along with my own investigation. As

    explained in the First Report of Receiver James D. Sallah, Esq. (“First Report”), my professionals

    are engaged in an extensive and complex financial reconstruction of numerous financial accounts

    belonging to the Receivership Entities and related third parties. The reconstruction has involved

    more than forty-five thousand (45,000) transactions that spanned a period from December 2011

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    through April 30, 2014 (the “relevant time period”). It has included reviewing statements from

    seventy-seven (77) related financial accounts, including fifty-six (56) bank accounts, eight (8)

    brokerage accounts, six (6) credit card accounts, and at least seven (7) merchant accounts.

           The reconstruction, which is a work in progress, established that during the relevant time

    period, the Receivership Entities received approximately $80.8 million from investors by “selling”

    them over 22,500 virtual kiosk machines (“VCMs” or “machines”). The VCM sales to investors

    were documented through contracts with either JCS or TBTI, and those contracts represented that

    advertising revenue would provide investors with a return of $300 per month for thirty-six (36) to

    forty-eight (48) months. Thus, according to the contracts, each machine would generate at least

    $10,800 over a thirty-six (36) month period.

           Of the VCMs sold, JCS and TBTI actually placed fewer than 100 VCMs at fewer than 50

    different locations. During the relevant time period, JCS and TBTI earned a total of approximately

    $21,000 in advertising revenue from these machines.2        To put things into perspective, the

    advertising revenue actually generated by VCMs would not even have supported the obligations

    for two VCMs that were sold under the shorter, thirty-six (36) month contracts.

           JCS and TBTI generated no other meaningful source of revenue or cash inflows from

    which to pay investors.3 My ongoing investigation indicates that repayments to investors from the




    2
      This amount includes $10,836 in transactions in which my professionals are unable to identify
    the payor due to insufficient data provided by the financial institution. My accountants made the
    assumption that the transaction related to advertising revenue.
    3
      While not advertising revenue, JCS appears to have collected through VCMs an immaterial
    amount of $13,588 from casino gaming related transactions. JCS also received deposits totaling
    $9,449 from a merchant processor referenced as “Geebo Sales.” Assuming arguendo that these
    deposits were also included as advertising revenue, the total amount would be approximately
    $44,000.


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    Receivership Entities totaled approximately $49.7 million. The only source of funds available to

    the Receivership Entities from which to make these investor payments were funds received from

    subsequent investors, the hallmark of a Ponzi scheme.4         A copy of a redacted, expert report

    completed by my forensic accountants, Melissa Davis and KapilaMukamel, LLP, as of January

    21, 2015 is attached hereto as Exhibit “A.”5 This report provides further details concerning the

    sources and uses of funds, investor liability, and cash flows, among other things.

               A. Calculating Total Losses From the Ponzi Scheme

            As explained above, of the approximately $80.8 million raised, the financial reconstruction

    shows currently that during the relevant time period the Receivership Entities returned

    approximately $49.7 million to investors. However, given the information available to date, it is

    too premature to draw the conclusion that investors’ losses result in a total of approximately $31.1

    million without additional analysis because of two primary factors discussed below.

           First, certain investors profited from their purchase of VCMs (i.e., those investors who

    received a return in excess of their principal investment). The total amount of excess or “false

    profit” payments to this group of investors must be added to the approximately $30.1 million in

    potential losses in order to finalize the total amount investors lost as a result of the Ponzi scheme.

    This analysis is ongoing.




    4
       A Ponzi scheme “uses the principal investments of newer investors, who are promised large
    returns, to pay older investors what appear to be higher returns, but which are in reality a return of
    their own principal or that of other investors.” In re Fin. Federated Title & Trust, Inc., 309 F. 3d
    1325, 1327 n.1 (11th Cir. 2002).
    5
      Exhibit “A” was redacted to remove portions of account numbers and the full names of certain
    third-party individuals. Notably, Exhibit A is based on the reconstruction of JCS, TBTI and Gee
    Bo financial accounts as indicated in the report and does not include all of the 77 financial accounts
    mentioned above.
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            Second, the monies that investors received from merchant banks or credit card companies

    as chargebacks must also be considered in determining the total losses suffered by investors. These

    credit card chargebacks will reduce the amount of claims that I anticipate receiving from certain

    investors, and potentially other creditors. For example, if an investor recovers all of his or her net

    losses through a chargeback, I will likely recommend the Court deny any claim up to the amount

    of the chargeback. One of the primary merchant processing companies, First Data Merchant

    Services Corporation, has represented that as of January 9, 2015, it has returned approximately

    $9,636,124.25 in chargebacks to investors. This is based on demands for chargebacks made by

    such investors pursuant to contractual obligations with their credit card companies or issuing

    banks. Such payments will likely result in claims brought by the merchant processing companies

    as trade creditors.

                B. Other Uses of Funds by the Receivership Entities

            My investigation indicates that other payments were made to insiders, third-parties, and

    vendors. Some of the more significant payments were made in connection with TBTI’s ATM

    Business, which is discussed in detail in my Emergency Motion for an Order Seeking Court

    Approval to Sell and Assign Certain T.B.T.I. Assets. [DE 50]. In total, TBTI’s ATM business,

    received approximately $15.77 million. However, this business used approximately $15.6 million

    during the same time period. Accordingly, it generated approximately $171,000 in net revenue

    for TBTI, which was insufficient to meet investor obligations.

            In addition, during the relevant time period, insiders, related parties, and employees

    received a total of approximately $10.5 million out of the approximately $80.8 million raised from

    investors. Of those monies, at least $3,536,401 was paid directly to the individual defendants,

    their respective spouses, or companies that they owned and/or controlled.



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        III.      THE RECEIVER ANTICIPATES INITIATING ACTIONS AGAINST THOSE
                  WHO RECEIVED COMMISSIONS FOR SELLING VCMS AND INVESTORS
                  WHO RECEIVED MORE THAN THEY INVESTED

               Among other things, the Receivership Order provides that I may initiate actions on behalf

    of the Receivership Entities against those individuals or entities who received transfers of monies

    or other proceeds directly or indirectly traceable from investors of the Receivership Entities. [DE

    19]. Such actions may include, but are not limited to, those for disgorgement of profits and

    recovery and/or avoidance of fraudulent transfers under Florida Statute § 726.101, et seq. Id.

               As part of my investigation, my professionals and I have determined that several dozen

    individuals and/or entities received over $6,000,000 in “commissions” from the Receivership

    Entities in connection with soliciting others to purchase VCMs. Some of the individuals or entities

    offering VCMs then utilized sub-agents, who also received commissions for their sales. I have

    sent demand letters to the majority of these individuals and entities, who are located throughout

    the United States, demanding that they repay these monies.6 If such individuals and entities do

    not return these funds for the benefit of the Receivership Entities, or otherwise reach a Court-

    approved compromise with the Estate, I anticipate filing actions against them in federal court and

    seeking the recovery of such monies.

               In addition to those individuals and/or entities who received commissions, over 100

    individuals and entities received back at least $10,000 more than their principal investment prior

    to the Receivership’s inception, which makes them profiteers. I anticipate demanding that any

    such profiteer return to the Receivership Estate an amount equal to the profits made by each such




    6
      I have filed copies of the Receivership Order and the Complaint in approximately seventy-two
    (72) federal jurisdictions where I believe that assets or property of the Receivership Estate may be
    located. See 28 U.S.C. §754.


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   profiteer. This will include any person who obtained a chargeback on a credit card in excess of

   their principal investment. If a resolution over the amount demanded cannot be reached with such

   profiteers, I will assess the viability of filing an action against such individual or entity on a case

   by case basis.7

       IV.      EXPANSION OF RECEIVERSHIP OVER JOLA AND PSCS

             In late August 2014, I moved this Court to expand the Receivership over two Florida

   entities named JOLA Enterprise Inc. and PSCS Holdings, LLC. [DE 114]. JOLA was owned and

   controlled by Defendant Joseph Signore (“Defendant Signore”) and his spouse, and PSCS was

   owned by Defendant Paul Schumack (“Defendant Schumack”) and his spouse. The basis for my

   motion was similar to my earlier motion to expand the Receivership over Gee Bo. In addition to

   being owned and controlled by the individual defendants and their spouses, JOLA and PSCS

   received nearly all their funds from JCS and/or TBTI. During the relevant time period, JCS and

   TBTI transferred a total of $956,975 to JOLA, and TBTI transferred $2,350,000 directly or

   indirectly to PSCS. As explained in the motion and my declaration that was filed in support of the

   motion, both JOLA and PSCS were essentially used as conduits for the individual defendants to

   enrich themselves. Id.

             On December 11, 2014, over the opposition of Defendant Signore, this Court granted my

   motion and issued on Order expanding the Receivership over JOLA and PSCS. This allowed me

   to secure immediately an additional $746,698.09 for the Estate that was held in a bank account in




   7
     Prior to sending out any demand letters, counsel for one investor proactively reached out to me
   and offered 100%, or all, of the $162,300 in false profits that his client received from the
   Receivership Entities. I entered into a conditional settlement agreement for these false profits to
   be returned to the Estate, which was approved by the Court on January 27, 2015. [DE 198]. I
   encourage other individuals or entities to do the same as this one investor and return 100% of any
   monies received above the principal investment.
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   JOLA’s name. I anticipate that the Order will also assist me in extricating approximately $400,000

   from a retirement plan that was set up for TBTI employees with funds from PSCS, as well as to

   attempt to liquidate shares of a private company that were purchased with funds from PSCS.

   Finally, the expansion over JOLA and PSCS will assist me in streamlining legal actions filed

   against recipients of monies from JOLA and PSCS.

       V.         DEFENDANT SCHUMACK AND HIS SPOUSE VOLUNTARILY AGREED
                  TO TURN OVER CERTAIN PERSONAL ASSETS

            In early September 2014, Defendant Schumack’s counsel and my attorneys negotiated an

   agreement whereby Defendant Schumack and his spouse voluntarily turned over the bulk of their

   personal assets to the Estate. This was accomplished pursuant to a Court-approved Assignment

   and Assumption Agreement that I entered with the Schumacks on September 17, 2014 (the

   “Assignment”) [DE 118 and 119]. This Assignment included, among other things, the Schumacks’

   personal residence, which was purchased in November 2013 for approximately $1,650,000, as

   well as certain contents and furnishings. In that regard, I immediately procured insurance for the

   home and its contents; hired three appraisers pursuant to federal statute; and listed the home for

   sale conditioned on future Court approval. The house remains on the market for a Court-approved,

   future sale.

            In connection with marketing the home, I had the home cleaned, its windows washed, its

   pool pump replaced, its sprinkler system repaired, and photographed and videotaped the premises.

   I also contacted the U.S. Attorney’s Office for the Southern District of Florida (“USAO”), which

   had previously filed a lis pendens on the Schumacks’ personal residence in connection with a

   criminal action. The USAO lifted the lis pendens in light of the Assignment of the residence to

   the Receivership Estate. Subsequently, the Schumacks signed the deed over to the Estate, which

   was then recorded with the Broward County Recorder’s Office.

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             Moreover, as part of the Assignment, the Schumacks transferred any rights to monies that

   were paid to the IRS from 2012 to the present, any interests or rights to several insurance policies,

   an annuity valued at approximately $88,000, and any interests that they maintain in the TBTI

   pension plan containing nearly $400,000, among other things.8

       VI.      ASSET PURCHASE AGREEMENT WITH ATOMIC WORLD MEDIA, INC.
                AND PUBLIC AUCTION

             In late November 2014, after several months of extensive negotiations, I entered into a

   conditional Asset Purchase Agreement (“APA”) to sell a combination of the JCS’s and Gee Bo’s

   assets for $1,536,971.75. The bulk of the assets to be sold under the APA are the VCMs, computer

   hardware, software, and certain contracts associated with the VCMs and Gee Bo. To ensure that

   the assets are marketed and that the Receivership Estate receives the highest and best price, the

   APA provides for the asset sale to the proposed purchaser or to a higher bidder pursuant to specific

   bidding procedures set forth in the Verified Motion that I filed with this Court (the “Verified

   Motion”) [DE 151]. Under these bidding procedures, I have determined that the asset sale to the

   purchaser as a “stalking horse” and public auction will enable me to obtain the highest and best

   offer for the assets and maximize their value. This is ultimately in the best interest of the investors

   and creditors with valid claims.9

             In addition, the APA provides notice of the sale and bidding procedures in national and

   local periodicals to provide ample opportunity to the marketplace. My professionals and I will

   also aggressively solicit bids from third-parties. However, in the event that there are no other




   8
     Notably, as part of the Assignment, the Receiver did not release the Schumacks from liability
   for claims that the Estate may have against them.
   9
     The public auction is currently set for February 20, 2015. However, I plan to seek Court approval
   to reset the date of the auction in the near future.
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   interested parties to overbid the purchaser, the $1,536,971.75 purchase price is reasonable and

   represents fair value for the property.

           Defendant Signore and his spouse both objected to the sale of the assets subject to the APA.

   [DE 157]. On January 6, 2015, over their objections, the Court granted my Verified Motion and

   issued an Order authorizing the: (1) APA, including overbid and auction procedures consisting of

   a break-up fee expense reimbursements; (2) form and manner of notice of sale, bidding, and

   auction; and, (3) sale of the receivership estate’s assets free and clear of liens, claims,

   encumbrances, and other interest. [DE 188]. Accordingly, I am in the process of carrying out the

   Court’s Order.

        VII.   OTHER LITIGATION INVOLVING THE RECEIVERSHIP ESTATE

           A. Litigation Relating to Discovery

           The majority of the recent litigation involving the Receivership Estate has involved

   discovery matters arising out of the issuance of subpoenas to individuals or entities who received

   commissions for selling VCMs, or otherwise received large transfers of monies from one or more

   of the Receivership Entities. My legal professionals have issued over one-hundred and forty (140)

   subpoenas to entities and individuals whom I believe possess relevant information concerning

   these payments and/or transfers. Most recipients have complied, but others have not. 10 On

   September 18, 2014, Damon Barnes, Jeremy Barnes, and J&J Bundles, Inc., moved the United

   States District Court for the Middle District of Florida to quash the subpoenas issued to them. See

   Case No. 14-mc-00078-CEH-TGW (M.D. Fla.). The Middle District Court granted, in part, and




   10
       Notably, some individuals who appear to have received large commissions from the
   Receivership Entities invoked their Fifth Amendment Privilege when subpoenaed for documents
   and depositions.


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   denied, in part, the motion to transfer the discovery motions before it to this Court.11 [See DE 126].

   The issues presented to the Middle District Court are currently pending before this Court. [DE 131,

   142-43].

          In addition, in early November 2014, I moved for orders to show cause against two other

   individuals who failed to respond to the subpoenas issued to them. The Court granted my renewed

   motion for orders to show cause on December 12, 2014 [DE 166 and 167]. I moved for a contempt

   order against one of the subpoena recipients on December 31, 2014, and that motion is currently

   pending before this Court. [DE 186].         The remaining subpoena recipient was granted an

   enlargement of time, and has since provided a response to the subpoena.

          B. Motion to Intervene

          In September 2014, an investor moved to intervene in the instant matter and for an order

   requiring me to implement a claims review process regarding Gee Bo immediately, or in the

   alternative, to segregate monies collected as to Gee Bo. [DE 115]. The proposed intervenor

   contended that because he was a large investor, if not the largest individual investor, in Gee Bo,

   he should be entitled to intervene and force an immediate claims review process for Gee Bo. Id.

          I opposed the intervention for a number of reasons. [DE 122]. First, the Securities

   Exchange Act of 1934 bars intervention as a matter of law where an intervenor fails to satisfy the

   requirements of Rule 24 of the Federal Rules of Civil Procedure. Indeed, the proposed intervenor’s

   motion provided no evidence that he, individually, invested any monies in Gee Bo. Second, there

   is no evidence that I will not, or am not, representing the intervenor’s interests. Third, a Court-

   approved claims and distribution process would be a more efficient, streamlined approach, for


   11
       The United States District Court for the Middle District of Florida denied the portion of the
   motion directed to Jeremy Barnes because it lacked jurisdiction over his motion to quash in the
   first instance. Jeremy Barnes resides in Georgia.


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   addressing his claim. Finally, intervention would potentially encourage other investors and non-

   party creditors to seek intervention. In this case, there are numerous investors and non-investor

   creditors. Id.

        VIII. TOWN HALL MEETING IN WEST PALM BEACH

           On September 19, 2014, my professionals and I held a town hall style meeting at the

   Marriott Hotel in West Palm Beach, Florida. The purpose of the meeting was to provide investors,

   interested parties, and the public the opportunity to hear from me and my professionals concerning

   the Receivership Estate’s status, my role and its limitations, the role of the various members of my

   legal and forensic accounting professionals, and how I anticipate the Receivership will proceed

   going forward. The town hall format provided those who attended the opportunity to meet with

   me and my professionals personally, or call in via a teleconference, and ask any questions that

   were not answered during my presentation. Approximately 60 people attended personally, some

   traveling from out of state, while several hundred individuals called in from across the nation and

   attended telephonically.12

           I received many questions in advance of the town hall meeting via email, and tried to

   address as many as I could during my presentation. In addition to my professionals and me, a

   representative from the U.S. Securities and Exchange Commission’s trial unit was also present and

   participated.

           The meeting lasted approximately two (2) hours. The most common questions, from those

   attending personally and from those who emailed questions in advance of the meeting, were: (1)

   whether they were going to receive any monies back; (2) how much many they could expect; (3)


   12
      It is noteworthy that neither I nor the professionals who attended billed for their time associated
   with the Town Hall Meeting. In addition, I negotiated with Marriott to provide a free ball room
   for the meeting, provided that the Receivership Estate pay the costs associated with the set-up and
   refreshments that were provided to the attendees.
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   how large the losses were; and (4) whether I was going to take any action against those who

   solicited them to purchase VCMs.        I also explained legal concepts such as the stay of the

   underlying action, disgorgement, and parallel prosecutions.

      IX.      WAIVER OF PRIVILEGE WITH CERTAIN PROFESSIONALS WHO
               PROVIDED LEGAL SERVICES TO JCS

            In December 2014, following a hearing before the Honorable Daniel T.K. Hurley in a

   parallel criminal case styled U.S. v. Signore, et. al, Case No. 14-cr-80081-DTKH (S.D. Fla.) (the

   “parallel criminal case”), I understand that Judge Hurley requested that the Government and

   counsel for the criminal defendants confer as to the waiver of the attorney-client privilege between

   JCS and its former counsel for a potential reliance on counsel defense. Prior to making a

   determination as to whether I would do so on behalf of JCS, my counsel and I interviewed two

   prior attorneys for the company to determine, among other things, the scope of their respective

   representations and the actual services they provided to JCS.

            Following my interview, I made the determination to waive privilege on behalf JCS

   concerning both law firms, and advised the Government and counsel for the defendants of the

   same. I am in the process of determining whether to waive privilege for other prior professionals.

      X.       DEFENDANT SIGNORE AND HIS SPOUSE WERE PERMITTED TO
               SECURE FIVE VCMs AND OTHER MATERIALS IN CONNECTION WITH
               THEIR DEFENSE OF A CRIMINAL MATTER

            As the Court is aware and described in my Reply [DE 182], Defendant Signore’s and his

   spouse’s criminal counsel previously requested that I preserve five (5) specific VCMs for use

   during trial in the parallel criminal case. To avoid impeding Defendant Signore from presenting

   such VCMs during his criminal trial, I agreed to do so. Under supervision of one of the members

   of my professionals, I permitted Defendant Signore, his wife, and defense counsel’s investigator

   to go to the JCS warehouse and hand-pick five (5) VCMs that he and his wife requested I preserve

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   for their joint criminal trial. He also hand-picked marketing materials and other items that my

   professional agreed to, and did, segregate, preserve, and remove to an offsite storage facility.

   Further, I ensured that these five (5) machines were included in the proposed APA for their use

   during the criminal trial.13

        XI.      FUTURE CLAIMS PROCESS

              In the future, I anticipate seeking approval from the Court for an approved claims process

   and form. While I am unable to predict with certainty when I will seek such approval, I hope to

   be in a position to begin drafting a motion to approve the claims form and claims process early

   next quarter. When I file such a motion, I will post it on the Receivership website located at

   www.jcs-tbtireceivership.com.14 At the same time, I anticipate reaching out to investors to ensure

   that I have their accurate mailing and contact information.

        XII.     CONCLUSION

              In conclusion, I am continuing to carry out my directives under the Receivership Order. I

   plan to submit additional status reports from time to time, and the facts and conclusions in this

   Second Report are subject to change as my investigation progresses during the course of the




   13
      Mr. Craig Hipp, a defendant in the parallel criminal case, has also requested the use of 5 VCMs
   during his criminal trial, which is severed from his co-defendants and set to begin in late February
   or March 2015.
   14
     In the future, I anticipate also seeking Court approval to consolidate, or pool, the Receivership
   Entities’ assets and liabilities.


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   Receivership.

   Executed on this 30th day of January 2015.

                                                Respectfully submitted,



                                                __________________________________________
                                                James D. Sallah, Esq.,
                                                Not individually, but solely in my capacity as
                                                Receiver of JCS Enterprises, Inc. d/b/a JCS
                                                Enterprises Services, Inc., T.B.T.I., Inc., and My Gee
                                                Bo, Inc.




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                    EXHIBIT A
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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA
                   Case No.: 14-CV-80468-MIDDLEBROOKS


   SECURITIES AND EXCHANGE COMMISSION,

                           Plaintiff,
   v.

   JCS ENTERPRISES, INC. d/b/a JCS
   ENTERPRISES SERVICES, INC., T.B.T.I., INC.,
   JOSEPH SIGNORE, and PAUL L. SCHUMACK II,

                           Defendants.
   _________________________________________/




                              EXPERT REPORT

            Submitted by Melissa Davis, CPA, CIRA, CFE

                               January 21, 2015
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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA
                   Case No.: 14-CV-80468-MIDDLEBROOKS


   SECURITIES AND EXCHANGE COMMISSION

                           Plaintiff,
   v.

   JCS ENTERPRISES, INC. d/b/a JCS
   ENTERPRISES SERVICES, INC., T.B.T.I., INC.,
   JOSEPH SIGNORE, and PAUL L. SCHUMACK II,

                           Defendants.
   __________________________________________/



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         REPORT

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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                          Case No.: 14-CV-80468-MIDDLEBROOKS


   SECURITIES AND EXCHANGE COMMISSION

                                      Plaintiff,
   v.

   JCS ENTERPRISES, INC. d/b/a JCS
   ENTERPRISES SERVICES, INC., T.B.T.I., INC.,
   JOSEPH SIGNORE, and PAUL L. SCHUMACK, II

                           Defendants.
   _________________________________________/


                                           EXPERT REPORT

   I.      OVERVIEW

                    James D. Sallah, Esq. was appointed as Receiver (“Receiver”) of JCS

           Enterprises, Inc. d/b/a JCS Enterprises Services, Inc. (“JCS”) and T.B.T.I.,

           Inc. ("TBTI") (collectively “the Receivership”) on April 7, 2014.1 The Receiver

           filed a motion to expand the Receivership to include My Gee Bo, Inc.

           (“Geebo”)2 and the Court entered an order granting the motion on April 11,

           2014.3

                    The     Receiver       retained      KapilaMukamal,          LLP     as    his    forensic

           accountants. In the sections that follow, Melissa Davis and KapilaMukamal

           (collectively “Davis” or “KM”) set forth certain opinions about JCS, TBTI and

           Geebo (“Receivership Entities”). KM’s opinions are based on an analysis of

   1
     D.E.19.
   2
     D.E. 23.
   3
     D.E. 26. Per D.E. 114, the Court also expanded the Receivership to include JOLA Enterprises, Inc. and
   PSCS Holdings, LLC.
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         the documents enumerated at Exhibit A as of the date of this report.

         Additional documents and information may be made available or reviewed,

         and certain facts currently not available may come to light, which may impact

         the conclusions and opinions reflected herein. Furthermore, the forensic

         investigation and discovery is still in process and is not completed.

         Continued investigation may reveal information that has an impact on the

         analysis and findings presented in this report.

                This report was prepared solely for use in this matter or for use at the

         discretion of the Receiver. The information and conclusions reached should

         not be relied upon by any other person nor should any statement in this

         report be used for any other purpose without written consent from KM or

         without written consent from the Receiver.



   II.   SCOPE

                The Receiver has asked KM to opine on:

                a. Whether or not JCS and TBTI operated a Ponzi scheme;

                b. The amount of funds invested into the Ponzi scheme;

                c. The amount of funds lost by investors in the Ponzi scheme;

                d. Whether or not the revenue generated from advertising was
                   sufficient for JCS and TBTI to pay all investors the monthly returns;

                e. Whether or not any TBTI investor purchases were deposited into
                   JCS bank accounts;

                f. The source of funds available to Geebo;

                g. Whether or not JCS transferred funds to TBTI that TBTI used to
                   make the monthly return payments to investors, and

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                h. Whether or not revenues generated by TBTI's ATM servicing
                   business were sufficient for TBTI to pay all investors the monthly
                   returns.



   III.   OPINIONS

          KM’s opinions are as follows:

                a. From December 2011 to approximately April 2014, JCS and TBTI
                   operated a Ponzi scheme. They paid old investors their returns
                   utilizing moneys obtained from new investors;

                b. The total funds JCS and TBTI raised from investors was
                   approximately $80.8 million;

                c. The investors lost at least $31.1 million;

                d. The revenue generated from advertising was insufficient for JCS
                   and TBTI to pay all investors the monthly returns;

                e. Certain investor purchases were made through credit card
                   merchant accounts in the name of JCS. These purchases
                   included both JCS and TBTI investor transactions;

                f. Funds that flowed into the Geebo financial accounts included
                   funds that were derived from JCS and TBTI;

                g. JCS transferred funds to TBTI that TBTI used to make monthly
                   payments to investors, and

                h. Revenues generated by TBTI's ATM servicing business during the
                   time of the Ponzi scheme were not sufficient for TBTI to pay all
                   investors the monthly returns.




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   IV.     BACKGROUND

           JCS Enterprises, Inc. d/b/a JCS Enterprises Services, Inc.

                      JCS was incorporated on October 12, 2010 as a Delaware

           Corporation. On June 29, 2011, JCS became Foreign Profit Corporation for

           purposes of transacting business in Florida. Joseph Signore and Laura

           Signore       a/k/a   Laura   Grande   were   President   and   Vice   President,

           respectively.4

           My Gee Bo, Inc.

                      Geebo was incorporated on April 2, 2013 under the laws of the State

           of Florida. Joseph Signore and Laura Signore were President and Vice

           President, respectively.5

           T.B.T.I., Inc

                      TBTI was incorporated on August 13, 2001 under the laws of the

           State of Florida. Paul Schumack and Christine Schumack were President

           and Secretary, respectively. On September 20, 2013, an amendment was

           filed to change Christine Schumack to President, change Paul Schumack to

           Vice President, add Crystal Miller as Treasurer, and add Chad Wright as

           Secretary.6




   4
     www.sunbiz.org
   5
     Id.
   6
     Id.
   Page 4
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           JOLA Enterprises, Inc.

                    JOLA Enterprises Inc (“JOLA”) was incorporated on February 25,

           2013 under the laws of the State of Florida. Joseph Signore was titled

           President and Director and Laura Signore was titled Treasurer and

           Secretary. 7

           PSCS Holdings, LLC

                    PSCS Holdings, LLC (“PSCS”) was incorporated on August 5, 2013

           under the laws of the State of Florida. Paul Schumack and Christine

           Schumack were both titled as managing officers. 8



   V.      METHODOLOGY


           A.       Bank Transactions Reconstruction

                    In order to determine the nature of the transactions of the

           Receivership Entities, Davis, assisted by other professionals within KM,

           prepared a detailed reconstruction of the funds received and disbursed in

           each entity's financial accounts during the period December 1, 2011 through

           April 30, 2014 ("Relevant Time Period"). The reconstruction process included

           the following tasks:



                       KM reviewed and analyzed the electronic accounting records

                        maintained by JCS and TBTI;9


   7
     Id.
   8
     Id.
   9
     TBTI and JCS utilized QuickBooks accounting software. JCS also utilized Check Soft accounting software.
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                           KM reviewed the JCS and Geebo banking records found in the

                            JCS leased premises;

                           KM reviewed the TBTI banking records produced by Christine

                            Schumack;

                           KM provided data to the Receiver regarding missing financial

                            information. The Receiver issued subpoenas to the financial

                            institutions to obtain the missing financial records, and

                           Once the financial information was obtained from the financial

                            institutions, KM analyzed the banking records which included bank

                            statements, deposit tickets and deposit support, wire transfer

                            advices and cancelled checks.                      Exhibit A.1 displays the

                            Receivership Entity bank accounts included in the reconstruction

                            process.



                       KM prepared a combined10 reconstruction of the funds received and

              disbursed by the Receivership Entities during the Relevant Time Period on a

              transactional        level    basis      (the    “Bank       Reconstruction”).         The   Bank

              Reconstruction encompassed over 45,000 transactions. The results are

              summarized at Exhibit B and in Table 1, below.




   10
        Transactions totaling $116,425,216 that occurred between the Receivership Entities net to zero.
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   Table 1

                                           Sources and Uses of Funds
                   Type                         Sources               %             Uses              %                Net
              11
    Investors                                      80,840,553      81.41%          49,752,796      52.00%            31,087,757
    ATM Business                                   15,773,111      15.92%          15,601,809      16.31%               171,302
    Insiders/Related Parties                       1,157,381        1.17%          11,715,895      12.25%           (10,558,514)
    Operating & Facilities                           390,243       0.39%            8,541,131       8.92%            (8,150,888)
    Commissions                                           -         0.00%           6,429,356       6.72%            (6,429,356)
    Credit Cards                                          -         0.00%           2,101,948       2.20%            (2,101,948)
    Further Investigation Required                        -         0.00%             466,121       0.49%              (466,121)
    Real Estate & Rent Related                            -        0.00%              436,131      0.46%               (436,131)
    Professional Fees                                      -        0.00%             371,257       0.39%              (371,257)
    Geebo Territory Purchases                      1,084,000       1.09%              260,000      0.27%                824,000
    Advertising                                       21,143        0.02%                 -         0.00%                 21,143
                                            $      99,266,431                  $   95,676,444                   $      3,589,987



    Beginning Balance                                  41,166       0.04%                    -      0.00%             41,166
    Transfer to Receiver12                                                                                        (3,631,153)
    Net Remaining Balance                                                                                       $         -




   VI.      ANALYSIS

            A.       Ponzi Scheme Defined

                     The Securities and Exchange Commission (“SEC”) defines a Ponzi

            scheme as follows:13




   11
      KM’s calculations are based on the transactions in the bank reconstruction and a review of the investor files.
   To date, there is approximately $4.8 million in receipts where KM had made the assumption they are investor
   related and has not identified the name of the investor due to insufficient information provided by financial
   institutions. The disbursements include $240,370 in chargeback transactions where KM has not identified the
   investor name due to insufficient data provided by the financial institution.
   12
      Amount of funds transferred to the Receiver on or before April 29, 2014.
   13
      http://www.sec.gov/answers/ponzi.htm
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                    “A Ponzi scheme is an investment fraud that involves the payment of
                    purported returns to existing investors from funds contributed by new
                    investors. Ponzi scheme organizers often solicit new investors by
                    promising to invest funds in opportunities claimed to generate high
                    returns with little or no risk. In many Ponzi schemes, the fraudsters focus
                    on attracting new money to make promised payments to earlier-stage
                    investors to create the false appearance that investors are profiting from
                    a legitimate business.”

           The Association of Certified Fraud Examiners - Fraud Examiner's Manual -

           2014 International Edition defines a Ponzi scheme as follows:

                            “A Ponzi is generally defined as an illegal business practice in
                    which new investors' money is used to make payments to earlier
                    investors. The investment opportunity is typically presented with the
                    promise of uncommonly high returns. A simple investment scam rakes
                    in as much money as possible and then disappears, whereas a Ponzi
                    scheme stays in business by turning some of the money back into the
                    game.......Payoffs are made from the pool of investor funds; the rest is
                    siphoned into operators' pockets."14




           Ponzi schemes share certain common characteristics:

               The purported business underlying the investment scheme depends on
                the inflow of external investor money;

               The investor money is not used according to the stated business
                purpose. Instead, the investor money is used to pay returns to earlier
                investors, to often fund the perpetrator’s lifestyle, or for some other
                illegitimate purpose;

               The purported business enterprise underlying the scheme lacks sufficient
                profit to provide the returns and, therefore, depends on a continually
                increasing inflow of new investor money, and

               Ponzi schemes often involve a charismatic and confident central
                promoter who successfully swindles investors.




   14
      Association of Certified Fraud Examiners, Fraud Examiners Manual 2014 International Edition, Financial
   Transactions & Fraud Schemes, Consumer Fraud, Ponzi and Pyramid Schemes, 1.1224-1.225.
   Page 8
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            B.       The JCS & TBTI Ponzi Scheme

                     JCS and TBTI marketed and sold virtual concierge machines

            (“VCMs”) to investors promising them large returns. The VCMs were

            interactive ATM-like machines that enabled businesses to advertise their

            products and services.              VCMs were to be placed in hotels, airports, or

            stadiums and would generate advertising revenue which would finance the

            guaranteed rate of return.

                      The VCM sales were documented with either a JCS “Virtual

             Concierge Buyer Program Agreement” or TBTI’s “Virtual Concierge Investor

             Contract.” The agreements were similar in content:

                                  VCM purchase price: Investors purchased each machine
                                   for a price ranging from $2,600 - $4,500.15

                                  Investor Return: Investors were to be paid a $300 per
                                   month return for 36-48 months per machine. This would
                                   equate to investor profitability ranging from $6,300 to
                                   $11,800 or a 140% – 450% return per VCM.16


                     The average cost of the VCM investment was between $2,600 and

            $4,500 per machine.17 Investors were provided with two options to invest:

            the "passive program" or "aggressive" program.18                With the “passive

            program”, JCS purportedly handled the advertisements, software, hardware


   15
      Based on KM’s analysis of the investor files.
   16
      Id.
   17
      Id.
   18
      DE No. 4.
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           and location of the VCM. With the “aggressive program” investors had to

           place the VCMs themselves.19 Most investors chose the passive program,

           which purportedly provided a monthly return of $300 per month for a period

           of generally between 36 and 48 months.20

                    TBTI investor contracts stated:

                    “If for whatever reason, the Investor can sell back to the
                    Provider the VC equipment at any time for their initial
                    purchase price.” 21


                    Advertising Revenue

                    The JCS and TBTI business model was structured to generate

           revenue through advertising sales by placing VCMs in various venues. The

           JCS investor contracts stated:

                    “Advertising revenues will be paid as follows: The advertising
                    revenue check will be mailed to the Buyer on the 15th of the
                    following month, considering that the funds are available
                    from the sale to Seller and for each wall unit purchased
                    Buyer will receive from Seller $300.00 per month in
                    advertising revenue for 36 consecutive months.” 22


                    TBTI investor contracts contained similar language. As indicated to

           investors, the advertising revenue would fund their return of $300 per month

           for 36-48 months. According to a JCS 6 Month Virtual Concierge Advertising

           Contract Order Form (“Advertising Contract”) found in the JCS records,




   19
      Id.
   20
      Based on KM’s analysis of investor files.
   21
      TBTI VCM Contract - Section I “Concept of the Operation”.
   22
      JCS VCM Contract - Section 4 “Unit Price and Compensation to Buyer”.
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            businesses could select from five different advertising packages priced from

            $15 to $975.23


                     Ponzi Scheme Attributes



                     Initial receipts from investors began in December 2011. During the

            period analyzed, JCS and TBTI raised approximately $80.8 million from at

            least 1,800 investors by selling more than 22,500 VCMs.24

                     Although more than 22,500 VCMs were sold to investors, it appears

            that less than 100 operating VCMs were actually placed.25 This resulted in

            an insignificant amount of revenue that was actually raised from the

            operating VCMs to repay investors. Instead, as is consistent with all Ponzi

            schemes, new investor funds were used to pay older investors and here,

            money was funneled out of the scheme for the benefit of insiders. Moneys

            were also used to fund the costs related to Geebo.

                     Advertising revenue was the alleged source from which the investors

            were to be repaid. At a minimum, the JCS/TBTI business model would need

            to generate a minimum of $10,800 per VCM machine sold based on a $300

            return for a 36 month period.




   23
      Based on a typical JCS 6 Month Virtual Concierge Advertising Contract Order Form found within the records
   of JCS.
   24
      KM’s calculations are based on the transactions in the bank reconstruction and a review of the investor files.
   To date, there is approximately $4.8 million in receipts where KM has not identified the name of the investor or
   the number of units purchased due to insufficient information provided by financial institutions. JCS and TBTI’s
   internal records reflected the sale of approximately 25,000 VCMs to approximately 1,800 investors. The
   Receiver’s investigation is ongoing.
   25
      D.E. No 107-1.
   Page 11
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                     Based on the Bank Reconstruction, actual advertising revenue

          received by JCS and TBTI was $21,14326 during the entirety of the scheme.27

          The scheme had attributes of a Ponzi scheme which indicate there was an

          insignificant legitimate business operation and the investment scheme served

          the primary purpose of benefiting insiders.



            C.       Investor Liability

                     Total funds collected from investors was approximately $80.8 million,

            total funds paid to investors was approximately $49.7 million resulting in net

            investor loss of at least $31.1 million.28 (Exhibit C)                   As enumerated in the

            preceding sections, the funds disbursed by JCS and TBTI to investors far

            exceeded the few identifiable sources of revenue generated by the entities.

            Therefore, JCS and TBTI lacked funds to repay investors and consequently

            depended on funds from new investors in order to repay old investors.

                     JCS and TBTI’s purported source of funds to pay investors was the

            advertising      revenue       received       from     VCM       advertisers.          Exhibit      D

            demonstrates that $49.7 million was paid to investors during the Relevant

            Time Period. Based on the documents reviewed to date, it appears that the

            first advertising revenue was not collected until May 2012, after almost $1.9

            million had been collected from investors and approximately $339,000 had

   26
      This amount includes $10,836 in transactions where KM was not able to identify the payor due to insufficient
   data provided by the financial institution. KM made the assumption that the transaction related to advertising
   revenue.
   27
      KM is aware that in his affidavit (D.E. 4), Thomas Donelon, former CPA for JCS indicated that he was
   provided supporting documentation for advertising revenue totaling $39,425 for 2012. KM did not identify this
   amount of advertising revenue being deposited into the JCS bank accounts.
   28
      This analysis is presented on an aggregate basis. Actual losses incurred by individual investors may exceed
   $31 million since some investors received more from the scheme than they invested.
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         been repaid to investors. Thus demonstrating, new investor funds were

         utilized to repay old investors as no advertising revenue had been collected

         by JCS from December 2011 through April 2012.

                JCS and TBTI sold more than 22,500 units throughout the Relevant

         Time Period. Each unit was to yield a return of $300 per month per machine

         for 36-48 months. Based upon the conservative calculation that the payment

         stream was limited to 36 months, Exhibit D demonstrates more than $243.4

         million would have been due to the investors.      $49.7 million was actually

         paid back to investors, resulting in a total outstanding obligation of

         approximately $193.7 million.




         D.     Insider and Related Party Transactions

                Funds paid to insiders and related parties of approximately $11.7

         million in aggregate further depleted the funds available to repay investors.

         During the Relevant Time Period, the Receivership Entities disbursed the

         aggregate funds directly to, or for the benefit of insiders and related parties

         as follows:




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   Table 2

                                       Payee                                  Amount
                 W.C.F.S. Inc                                            $         2,761,100
                 Schumack, Paul & Christine                                        1,500,000
                 JOLA Enterprises                                                    956,975
                 Signore, Laura                                                      811,754
                 Signore, Joseph                                                     220,162
                 Hipp, Craig29                                                       153,660
                 F      W                                                             87,400
                 Grande, Matthew                                                      34,425
                 PSCS Holdings LLC                                                    25,000
                 Schumack, Christine                                                  22,510
                 W       C                                                            16,400
                 W       C                                                             3,000
                 F      R                                                              2,756
                 Real Estate Purchases                                             1,205,440
                 Personal Expenses                                                 1,110,218
                 Fuel Foods Inc                                                      779,216
                 Cash                                                                533,085
                 Department of the Treasury                                          500,000
                 Automobile/Boat Related Expenses                                    426,197
                 Personal Home                                                       316,665
                 Shareholders                                                        138,200
                 Charity / Donation                                                   86,732
                 Gold Bullion                                                         25,000
                 Total                                                           $11,715,895




           E.       Other Sources of Funds to the Receivership Entities

                    1.      TBTI's ATM Business

                            Prior to the commencement of this Ponzi scheme, TBTI

           conducted an ATM servicing business. Although TBTI commonly received

           large deposits of funds from its ATM business partners, TBTI used the funds

           to replenish the cash in the ATM machines it serviced. Exhibit E displays

           TBTI’s ATM business related activity on a monthly basis for the Relevant

           Time Period.          Net cash flow generated from the ATM business of

   29
     Craig Hipp d/b/a A&K Electronic Solutions received $1,157,761 in payments from JCS credit card payments.
   Those payments are not included in this summary.
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         approximately $171,000 during the Relevant Time Period was not sufficient

         to meet TBTI's investor obligations.

                2.    Geebo

                      KM included the activity in the Geebo bank accounts within the

         Bank Reconstruction because it is a related party, under Receivership and

         both JCS and TBTI transferred funds into the Geebo bank accounts. Exhibit

         F is a summary of the activity in the Geebo bank account.

                      There were deposits from merchant accounts into the Geebo

          bank accounts that totaled approximately $19,250 and payments to

          merchant accounts totaling $3,134.          KM has not determined the

          payee/payor related to or the reason for, these transactions.

                      Between October 2013 and January 2014, there was a total of

          $1.084 million in deposits from the sale of “Geebo Territory Purchases” into

          the Receivership Entities.   Of this amount, $260,000 was returned to the

          purchasing parties in March 2014.



                3.    Other sources of funds into JCS

                      JCS received funds from the following sources:

                         Deposits totaling $9,449 from a merchant processor

                          referenced as “Geebo Sales”; and,

                         Deposits totaling $13,588 that referenced gaming related

                          transactions.




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             F.       Investor Related Cash Flow Analysis

                      1.      JCS Merchant Account

                              Although JCS and TBTI maintained separate bank accounts

             and accounting records, JCS collected TBTI investor credit card payments

             through its merchant accounts yet TBTI made the monthly return payments

             to the investors. The JCS merchant accounts were arranged to deposit funds

             into four different JCS bank accounts.30



                      2.      Transfers from JCS to TBTI

                              During     the     Relevant      Time     Period,      JCS     transferred

             approximately $42 million dollars to TBTI and TBTI utilized these funds to

             repay investors approximately $39 million. However, in February 2014, JCS

             stopped funding TBTI which resulted in a decrease in investor payments to

             $578,000 for February 2014 and $5,700 for March 2014. Exhibit G displays

             detail on a monthly basis.



   VII.      BASIS OF OPINIONS

                      KM’s opinions are based on the documents reviewed and enumerated

             at Exhibit A, and Melissa Davis' expertise and experience as a Certified

             Public Accountant, Certified Insolvency and Restructuring Advisor, Certified

             Fraud      Examiner       and     practitioner    addressing         fraud   investigations,

             solvency/insolvency and restructuring issues for over 10 years.



   30
        The four JCS bank account are: BBT-5654, TD-8571, TD-3894, and SC-1921.
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                             EXHIBITS
Case 9:14-cv-80468-DMM Document 200-1 Entered on FLSD Docket 01/30/2015 Page 40 of
                                      53
                                                                                                                        Exhibit A

                                            Securities and Exchange Commission, Plaintiff,
                                                                  v.
                                                         JCS Enterprises, Inc.,
                                             d/b/a Enterprises Services, Inc., T.B.T.I. Inc.,
                                          Joseph Signore, and Paul Schumack II, Defendants
                                                Case No.: 14-80468-Civ-Middlebrooks
                                                      United States District Court
                                                      Southern District of Florida

                                                      Documents Utilized

      Item                                                         Description
        1    Bank Records (Exhibit A.1)

       2     American Express Credit Card Statements (Exhibit A.2)

       3     QuickBooks Records for JCS and TBTI

       4     Check Registers from JCS Checksoft Software

       5     Merchant Activity Data obtained from NMI Gateway

       6     Investor Files - JCS
       7     Investor Files - TBTI
       8     Merchant Account Statements - Signapay
       9     Merchant Account Statements - First Data

      10     JCS Investor Database

      11     Kiosk Location List

      12     JCS Advertising Contracts

      13     Accounts Payable Files

      14     Investor Support Documents produced by investors

      15     Tax Returns and related workpapers- JCS

      16     Tax Returns and related workpapers - TBTI
      17     Plaintiff's Exhibits in Support of its Ex Parte Motion for Temporary Restraining Order and Other Emergency Relief. [D.E.
             4]

      18     Plaintiff’s Emergency Motion for Appointment of Receiver and Supporting Memorandum of Law and related exhibits.
             [D.E.10]
      19     Amended Order Appointing Receiver. [D.E. 19]


      20     Receiver’s Emergency Motion to Expand Receivership to include My Gee Bo, Inc. with Incorporated Memorandum of
             Law [D.E. 23]
      21     Order Granting Receiver’s Emergency Motion to Expand Receivership to include My Gee Bo, Inc. [D.E. 26]

      22     First Report of Receiver James D. Sallah, Esq. [D.E. 107-1]

      23     Declaration of James D. Sallah, Esq as Receiver for JCS Enterprises, Inc. d/b/a JCS Enterprises Services Inc., T.B.T.I,
             Inc., and My Gee Bo, Inc. [D.E. 114-1]
      24     Order Granting Receiver’s Motion to Expand Receivership to Include JOLA Enterprise Inc. and PSCS Holdings, LLC
             [D.E. 114-2]
      25     Florida Department of State Division of Corporations website, www.sunbiz.org
      26     www.sec.gov/answers/ponzi.htm
      27     Association of Certified Fraud Examiners, Fraud Examiners Manual 2014 International Edition, Financial Transactions &
             Fraud Schemes, Consumer Fraud, Ponzi and Pyramid Schemes, 1.1224-1.225.



                                   SEE EXPERT REPORT DATED JANUARY 21, 2015
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                                                                                                           Exhibit A.1

                                        Securities and Exchange Commission, Plaintiff,
                                                              v.
                                                     JCS Enterprises, Inc.,
                                         d/b/a Enterprises Services, Inc., T.B.T.I. Inc.,
                                      Joseph Signore, and Paul Schumack II, Defendants
                                            Case No.: 14-80468-Civ-Middlebrooks
                                                  United States District Court
                                                  Southern District of Florida

                                           Bank Records Utilized For This Report

                                                                                 Account
                                                                                             Statement    Statement End
                Bank Account Name                          Name of Bank           Number
                                                                                             Start Date        Date
                                                                                 Ending In
T.B.T.I. Inc.                                       Bank of America                 2038      12/01/11      04/30/14

T.B.T.I. Inc.                                       Bank of America                 4783      12/01/11      03/31/14

T.B.T.I. Inc.                                       Bank of America                 4820      12/01/11      03/31/14

JCS Enterprises Inc.                                BB&T                            5654      07/31/13      04/30/14

My Gee Bo Inc                                       BB&T                            1024      08/28/13      11/07/13

JCS Enterprises, Inc. / Joseph Signore Pres Laura   Scottrade                       6374      10/01/13      04/30/14
Signore VP
My Gee Bo Inc Joseph Signore Pres                   Scottrade                       3916      10/01/13      09/30/14

JCS Enterprises Services Inc                        Seacoast National Bank          1921      10/25/13      04/30/14

JCS Enterprises Services Inc                        Seacoast National Bank          2061      10/25/13      04/30/14

JCS Enterprises Services Inc                        Seacoast National Bank          4001      12/26/13      04/30/14

JCS Enterprises Services Inc "M" Account            Seacoast National Bank          2141      10/25/13      04/30/14

JCS Enterprises Inc                                 SunTrust                        3602      09/10/13      10/31/13

JCS Enterprises Inc Manufacturer                    SunTrust                        3610      09/10/13      10/31/13

My Gee Bo Inc                                       SunTrust                        3636      09/10/13      11/06/13

JCS Enterprises                                     TD Bank                         8571      01/25/12      12/30/13

JCS Enterprises                                     TD Bank                         6824      10/15/10      01/27/12

JCS Enterprises                                     TD Bank                         6688      11/03/10      02/29/12

JCS Enterprises Geebo Acct                          TD Bank                         3894      03/01/13      09/09/13

JCS Enterprises Manufacturing Account               TD Bank                         8109      12/12/11      09/10/13

TBTI Inc                                            TD Bank                         4901      07/03/12      04/30/14




                                   SEE EXPERT REPORT DATED JANUARY 21, 2015
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                                                                                                      Exhibit A.2

                                     Securities and Exchange Commission, Plaintiff,
                                                           v.
                                                  JCS Enterprises, Inc.,
                                      d/b/a Enterprises Services, Inc., T.B.T.I. Inc.,
                                   Joseph Signore, and Paul Schumack II, Defendants
                                         Case No.: 14-80468-Civ-Middlebrooks
                                               United States District Court
                                               Southern District of Florida

                                 Credit Card Documents Utilized For This Report

                                                                     Account Number
            Bank Account Name                     Name of Bank                           Start Date   End Date
                                                                        Ending In

JCS Enterprises Inc / Joseph Signore          American Express         6003              09/01/13      12/31/13

JCS Enterprises Inc / Joseph Signore          American Express         5005              01/01/13      08/31/13

JCS Enterprises Inc / Joseph Signore          American Express         4008              09/01/12      12/31/12

JCS Enterprises Inc / Joseph Signore          American Express         3000              02/01/12      08/31/12

JCS Enterprises Inc / Joseph Signore          American Express         2010              01/01/11      01/01/12

JCS Enterprises Inc / Malcolm C Swasey        American Express         2002              01/01/11      01/01/12


                                       SEE EXPERT REPORT DATED JANUARY 21, 2015
                             Case 9:14-cv-80468-DMM Document 200-1 Entered on FLSD Docket 01/30/2015 Page 43 of                                                                                                                                         Exhibit B
                                                                             53
                                                         Securities and Exchange Commission, Plaintiff,
                                                                                                                                          v.
                                                                                                                        JCS Enterprises, Inc.,
                                                                                                             d/b/a Enterprises Services, Inc., T.B.T.I. Inc.,
                                                                                                          Joseph Signore, and Paul Schumack II, Defendants
                                                                                                                  Case No. 14-cv-80468-Civ-Middlebrooks
                                                                                                                       United States District Court
                                                                                                                       Southern District of Florida


                                                                                                                Sources and Uses of Funds
                                                                                                 For the Period of December 1, 2011 through April 30, 2014

Source: JCS,
        JCS TBTI and Geebo consolidated bank reconstruction

                                                            FUNDS RECEIVED                                                                                FUNDS DISBURSED


                                                                                                                                    Investors                 ATM Business
                                                                                                                                   $49,752,796                 $15,601,809
                                                                                                                                      (Note 4)




                                   Investors                                                                                                                   Operations &
                                                             ATM Business                                                             Insiders
                                  $80,840,553                                                                                                                    Facilities
                                                              $15,773,111                                                           $11,715,895
                                     (Note 4)                                                                                                                   $8,541,131




                                                                 Geebo                                                                                                                                                             Transfer to
    Beginning                       Insiders /                                                         Total Funds                 Commissions                 Credit Cards                         Total Funds                                            Ending Balance
                                                                Territory                                                                                                                                                           Receiver
     Balance                     Related Parties                                                        Received                    $6,429,356                 $2,101,948                            Disbursed                                                   $0
                                                               Purchases                                                                                                                                                           $3,631,153
     $41,166                       $1,157,381                                                          $99,307,597                                                                                  $95,676,444                                                 (Note 2)
                                                               $1,084,000                                                                                                                                                             (Note 1)



                                                                                                                                                                  Further
                                  Operating &                                                                                      Real Estate &               Investigation
                                                              Advertisingg
                                   F iliti
                                   Facilities                                                                                      Rent Related                  Required
                                                               $21,143
                                   $390,243                                                                                          $436,131                    $466,121
                                                                (Note 5)
                                     (Note 6)                                                                                                                     (Note 3)




                                                                                                                                      Geebo
                                                                                                                                                               Professional
                                                                                                                                     Territory
                                                                                                                                                                   Fees
                                                                                                                                     Purchases
                                                                                                                                                                $371,257
                                                                                                                                     $260,000



Notes:
1. Amount of funds transferred to Receiver on or before April 29, 2014.

2. Does not include JCS and Geebo bank account interest earned of $18.04 (combined) on April 30, 2014.

3. KM does not currently know the recipient for approximately $466,000 in disbursements due to insufficient information provided by the financial institution. The Receiver's investigation is ongoing.

4. To date there is approximately $4.8 million in deposits where KM has made the assumption they are investor related and has not identified the name of the investor. This amount is comprised of approximately $4.2 million from merchant processor transactions and
$526,000 from unknown remitters on cashier's checks, transfers and deposits. The disbursements include $240,370 in chargeback transactions where KM has not yet identified the name of the investor due to insufficient information provided by the financial institutions. The
Receiver's investigation is ongoing.
5. There is approximately $10,836 in deposits for which KM has made the assumption the transactions are advertising related but has not identified the name of the payor due to insufficient data provided by the financial institutions.

6. Operating & Facilities receipts include: $250,000 return from Blue Water Ventures, Inc; Geebo and gambling related sales of $23,007; Taxes/Licenses and Trading activity of approximately $36,000; Merchant activity of approximately $19,250; Paychex payroll from TBTI
for approximately $18,000; and funds from Weiss Law Group of $12,000.




                                                                                                       SEE EXPERT REPORT DATED JANUARY 21, 2015
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                                                                                                        Exhibit C

                                         Securities and Exchange Commission, Plaintiff,
                                                                v.
                                                      JCS Enterprises, Inc.,
                                           d/b/a Enterprises Services, Inc., T.B.T.I. Inc.,
                                        Joseph Signore, and Paul Schumack II, Defendants
                                              Case No.: 14-80468-Civ-Middlebrooks
                                                   United States District Court
                                                   Southern District of Florida

                                                  Net Investor Losses
                                    For the Period December 1, 2011 - April 30, 2014
        Source: JCS, TBTI, and Geebo consolidated bank reconstruction


                                                Investor Receipts       Investor Disbursements      Net Investor Loss
                      Date
                                                   Per Month                   Per Month             (Notes 1 and 2)

        December 31, 2011                   $                 313,599 $                   4,719 $               (308,881)
        January 31, 2012                                      203,652                    34,845                 (168,806)
        February 29, 2012                                     320,789                    53,867                 (266,922)
        March 31, 2012                                        800,258                    85,045                 (715,214)
        April 30, 2012                                        294,050                   160,769                 (133,281)
        May 31, 2012                                          230,558                   201,296                  (29,262)
        June 30, 2012                                         317,775                   219,001                  (98,774)
        July 31, 2012                                         671,491                   263,876                 (407,615)
        August 31, 2012                                       520,897                   340,273                 (180,624)
        September 30, 2012                                    573,300                   359,536                 (213,764)
        October 31, 2012                                    1,450,825                   494,623                 (956,202)
        November 30, 2012                                   1,198,850                   645,427                 (553,423)
        December 31, 2012                                   1,678,670                   706,709                 (971,961)
        January 31, 2013                                    1,340,875                   955,607                 (385,268)
        February 28, 2013                                   2,062,410                 1,126,532                 (935,878)
        March 31, 2013                                      3,767,854                 1,490,534               (2,277,321)
        April 30, 2013                                      3,969,617                 1,822,823               (2,146,795)
        May 31, 2013                                        5,247,070                 2,185,971               (3,061,099)
        June 30, 2013                                       5,173,904                 2,848,212               (2,325,692)
        July 31, 2013                                       5,943,055                 3,202,632               (2,740,423)
        August 31, 2013                                     9,468,225                 3,737,520               (5,730,705)
        September 30, 2013                                  8,593,513                 4,462,682               (4,130,831)
        October 31, 2013                                    7,174,575                 5,148,124               (2,026,451)
        November 30, 2013                                   7,281,169                 5,264,307               (2,016,863)
        December 31, 2013                                  10,953,291                 6,761,304               (4,191,987)
        January 31, 2014                                    1,266,780                 3,379,284                2,112,504
        February 28, 2014                                      17,500                 1,886,225                1,868,725
        March 31, 2014                                          6,000                 1,512,454                1,506,454
        April 30, 2014                                            -                     398,600                  398,600
                                           $               80,840,553 $              49,752,796 $           (31,087,757)



        Note 1) Net investor loss is presented on an aggregate basis. To date, this analysis includes $4,843,333 in
        deposits where KM has made the assumption the funds are related to investor deposits but an investor name
        has not yet been determined due to insufficient information provided by the financial institutions. There are
        also $240,370 in chargeback transactions where an investor name has not been determined.


        Note 2) This analysis is presented on an aggregate basis. Actual losses incurred by individual investors may
        exceed $31,087,757 since some investors received more from the scheme than they invested.



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                                        53                                  Exhibit D

                                                    Securities and Exchange Commission, Plaintiff,
                                                                          v.
                                                                 JCS Enterprises, Inc.,
                                                     d/b/a Enterprises Services, Inc., T.B.T.I. Inc.,
                                                   Joseph Signore, and Paul Schumack, Defendants
                                                        Case No.: 14-80468-Civ-Middlebrooks
                                                              United States District Court
                                                              Southern District of Florida

                                                      Cumulative Liability to Investors
                                                 For the Period December 2011 - April 2014

                                                                                                                     Cumulative
                             Cumulative        Cumulative                                      Cumulative
                                                                         Cumulative                                Investor Funds     Net Cumulative
                             Advertising   Investor Funds Per                               Liability Based on
          Date                                                         Number of Units                              Disbursed Per       Liability to
                          Revenue Per Bank        Bank                                      Units Sold (Note
                                                                        Sold (Note 1)                                   Bank        Investors (Note 2)
                           Reconstruction    Reconstruction                                          1)
                                                                                                                   Reconstruction
December 31, 2011         $                 - $            313,599                    66 $            712,800    $            4,719 $           708,082
January 31, 2012                            -              517,251                   138            1,490,400                39,564          1,450,836
February 29, 2012                           -              838,040                   240            2,592,000                93,431          2,498,569
March 31, 2012                              -            1,638,298                   471            5,086,800               178,476          4,908,324
April 30, 2012                              -            1,932,348                   550            5,940,000               339,245          5,600,755
May 31, 2012                              769            2,162,906                   586            6,328,800               540,541          5,788,259
June 30, 2012                             867            2,480,681                   671            7,246,800               759,542          6,487,258
July 31, 2012                             942            3,152,172                   862            9,309,600             1,023,418          8,286,182
August 31, 2012                         1,112            3,673,070                 1,010           10,908,000             1,363,691          9,544,309
September 30, 2012                      1,382            4,246,370                 1,185           12,798,000             1,723,227         11,074,773
October 31, 2012                        1,871            5,697,195                 1,644           17,755,200             2,217,850         15,537,350
November 30, 2012                       2,326            6,896,045                 2,025           21,870,000             2,863,277         19,006,723
December 31, 2012                       3,380            8,574,715                 2,555           27,594,000             3,569,986         24,024,014
January 31, 2013                        4,672            9,915,590                 2,967           32,043,600             4,525,593         27,518,007
February 28, 2013                       6,572           11,978,000                 3,570           38,556,000             5,652,126         32,903,874
March 31, 2013                          7,106           15,745,854                 4,707           50,835,600             7,142,660         43,692,940
April 30, 2013                          8,988           19,715,471                 5,867           63,363,600             8,965,482         54,398,118
May 31, 2013                           10,476           24,962,541                 7,443           80,384,400            11,151,453         69,232,947
June 30, 2013                          12,636           30,136,446                 9,003           97,232,400            13,999,665         83,232,735
July 31, 2013                          15,236           36,079,501                10,667          115,203,600            17,202,297         98,001,303
August 31, 2013                        16,364           45,547,726                13,337          144,039,600            20,939,817        123,099,783
September 30, 2013                     20,019           54,141,238                15,252          164,721,600            25,402,499        139,319,101
October 31, 2013                       20,019           61,315,813                17,107          184,755,600            30,550,623        154,204,977
November 30, 2013                      20,019           68,596,982                19,288          208,310,400            35,814,929        172,495,471
December 31, 2013                      20,465           79,550,273                22,302          240,861,600            42,576,233        198,285,367
January 31, 2014                       20,940           80,817,053                22,536          243,388,800            45,955,517        197,433,283
February 28, 2014                      20,940           80,834,553                22,541          243,442,800            47,841,742        195,601,058
March 31, 2014                         21,143           80,840,553                22,543          243,464,400            49,354,196        194,110,204
April 30, 2014                         21,143           80,840,553                22,543          243,464,400            49,752,796        193,711,604



Note 1) KM’s calculations are based on the transactions in the bank reconstruction and a review of the investor files. To date, there is approximately $4.8
million in receipts where KM has not identified the name of the investor or the number of units purchased due to insufficient information provided by
financial institutions. JCS and TBTI’s internal records reflected the sale of approximately 25,000 VCMs to approximately 1,800 investors. The Receiver’s
investigation is ongoing.


Note 2) Each unit sold was to yield a return of $300 per month per machine for 36-48 months. This amount is based upon the conservative calculation that
the payment stream was limited to 36 months and equates to $300 per month for 36 months for each unit sold.


Note 3) Amount is calculated as Cumulative Liability Based on Units sold reduced for actual payments made to investors.



                                              SEE EXPERT REPORT DATED JANUARY 21, 2015
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                                      53                     Exhibit E

                                 Securities and Exchange Commission, Plaintiff,
                                                       v.
                                              JCS Enterprises, Inc.,
                                  d/b/a Enterprises Services, Inc., T.B.T.I. Inc.,
                               Joseph Signore, and Paul Schumack II, Defendants
                                          Case No.: 9:14-civ-80468-DMM
                                           United States District Court
                                           Southern District of Florida


                               TBTI ATM Business Activity
               For the Period of December 1, 2011 through March 13, 2014
    Source: JCS, TBTI and Geebo Consolidated Bank Reconstruction


                      Date                            Total Receipts              Total Disbursements
    December 31, 2011                           $                     390,782 $                    438,835
    January 31, 2012                                                 425,490                      420,893
    February 29, 2012                                                348,603                      339,045
    March 31, 2012                                                    556,217                     545,516
    April 30, 2012                                                    438,266                     385,961
    May 31, 2012                                                     357,004                      364,838
    June 30, 2012                                                     389,503                     390,619
    July 31, 2012                                                     444,375                      426,753
    August 31, 2012                                                   439,696                      395,832
    September 30, 2012                                                345,513                      316,689
    October 31, 2012                                                  346,359                      406,604
    November 31, 2012                                                 380,736                      414,058
    December 31, 2012                                                 419,249                      434,830
    January 31, 2013                                                  365,865                      346,434
    February 28, 2013                                                 331,570                      359,081
    March 31, 2013                                                    512,369                      479,084
    April 30, 2013                                                    420,386                      418,216
    May 31, 2013                                                      526,113                      604,070
    June 30, 2013                                                     765,150                      748,159
    July 31, 2013                                                   1,049,758                    1,050,868
    August 31, 2013                                                   895,506                      959,616
    September 30, 2013                                                814,757                      773,037
    October 31, 2013                                                  907,329                      989,620
    November 31, 2013                                               1,093,951                    1,094,309
    December 31, 2013                                               1,199,212                    1,215,374
    January 31, 2014                                                1,323,894                    1,230,931
    February 28, 2014                                                 168,755                       10,821
    March 13, 2014                                                    116,703                       41,717
                                               $                   15,773,111 $                15,601,809



                             SEE EXPERT REPORTED DATED JANUARY 21, 2015
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                                      53
                                                                                                   Exhibit F

                             Securities and Exchange Commission, Plaintiff,
                                                  v.

               JCS Enterprises Inc., dba JCS Enterprises Services, Inc and T.B.T.I. Inc.,
                               Joseph Signore, and Paul Schumack II,
                                Case No.: 14-80468-Civ-Middlebrooks
                                      United States District Court
                                      Southern District of Florida

                               Geebo Sources and Uses of Funds
                         For the Period August 28, 2013 - April 30, 2014

 Source: JCS, TBTI and Geebo Consolidated Bank Reconstruction


                                      Sources and Uses of Funds
                  Type                   Sources      %       Uses                    %              Net
 Geebo Territory Purchases                     784,000     48.43%       260,000     51.78%           524,000
 Operating & Facilities (Note 3)                 19,408    1.20%        215,541     42.93%          (196,133)

 Transfer to/from TBTI                           90,000    5.56%         22,500                       67,500

 Commissions                                        -      0.00%           2,500    0.50%              (2,500)

 Investor                                           -      0.00%           1,500    0.30%              (1,500)

 Personal & Miscellaneous Expenses                2,457                       43                       2,414

 Transfer to/from JCS                          723,100     44.66%            -      0.00%            723,100
                                          $ 1,618,965               $   502,084                $ 1,116,881



 Transfer to Receiver (Note 1)                                                                     (1,116,881)
 Net Remaining Balance (Note 2)                                                                $           -



 Notes
 This activity is included in the consolidated reconstruction and is presented here to demonstrate the
 sources and uses of cash within the Geebo bank accounts.

 1. Transferred to Receiver on April 29, 2014.
 2. Does not include interest earned of $8.57 on April 30, 2014.
 3. Operating expenses include: Advertising/Marketing expense of $201,854, Trading Activity of $5,508
 and Merchant Activity of $3,134. Operating Receipts include: Merchant Activity of $19,250.



                             SEE EXPERT REPORT DATED JANUARY 21, 2015
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                                                                                              Exhibit G

                                   Securities and Exchange Commission, Plaintiff,
                                                            v.
                           JCS Enterprises, Inc., d/b/a Enterprises Services, Inc., T.B.T.I. Inc.,
                                 Joseph Signore, and Paul Schumack II, Defendants
                                         Case No.: 14-80468-Civ-Middlebrooks
                                              United States District Court
                                              Southern District of Florida


         Monthly Payments from JCS to TBTI and Monthly Payments from TBTI to Investors
                                  For the Period December 1, 2011 - April 30, 2014

     Source: JCS, TBTI and Geebo Consolidated Bank Reconstruction


                                                       Disbursements from                Disbursements from
                      Date
                                                           JCS to TBTI                    TBTI to Investors

     December 31, 2011                          $                           -      $                           4,719
     January 31, 2012                                                    24,300                               34,845
     February 29, 2012                                                   46,900                               53,867
     March 31, 2012                                                      76,750                               83,545
     April 30, 2012                                                     156,550                             153,269
     May 31, 2012                                                       166,500                             179,396
     June 30, 2012                                                      188,800                             201,901
     July 31, 2012                                                      223,275                             230,276
     August 31, 2012                                                    288,050                             298,273
     September 30, 2012                                                 331,350                             327,436
     October 31, 2012                                                   480,800                             445,423
     November 30, 2012                                                  569,225                             586,627
     December 31, 2012                                                  532,975                             647,009
     January 31, 2013                                                 1,087,600                             866,883
     February 28, 2013                                                1,086,650                             967,182
     March 31, 2013                                                   1,321,125                            1,233,914
     April 30, 2013                                                   1,639,120                            1,519,173
     May 31, 2013                                                     2,137,025                            1,770,771
     June 30, 2013                                                    2,558,550                            2,267,992
     July 31, 2013                                                    2,926,500                            2,622,662
     August 31, 2013                                                  3,790,450                            3,060,150
     September 30, 2013                                               4,478,775                            3,728,262
     October 31, 2013                                                 5,070,222                            4,394,174
     November 30, 2013                                                4,906,000                            4,404,057
     December 31, 2013                                                5,894,525                            5,666,769
     January 31, 2014                                                 2,000,000                            2,195,434
     February 28, 2014                                                      -                               578,875
     March 31, 2014                                                         -                                  5,774
     April 30, 2014                                                          -                                    -
                                                $                    41,982,017   $                       38,528,657



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                 QUALIFICATIONS
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                                      53
                           Melissa Davis, CPA, CIRA, CFE
                            mdavis@kapilamukamal.com


      Melissa Davis is a Partner at KapilaMukamal, LLP.

      Professional Experience

      Ms. Davis concentrates on providing bankruptcy, litigation and forensic investigation services
      to debtors, creditors, receivers, assignees, bankruptcy trustees, examiners and liquidating
      trusts. Her practice also includes forensic accounting, fraud investigations and litigation
      support matters.
      Ms. Davis has served as a financial advisor to fiduciaries operating distressed companies in a
      variety of industries including mobile fueling, health insurance, real estate, hospitality, assisted
      living facilities/nursing homes, metal extrusion, stevedoring and waste management. Her
      experience includes distressed business operations, management, preservation of collateral
      and asset divestiture services.
      Ms. Davis has investigated fraudulent and preferential transfers, prepared defense, solvency
      and liquidation analyses. She has worked on asset tracing, provided litigation support and
      damage calculation services, including forensic and securities fraud investigations and
      corporate business conduct analysis. Ms. Davis has extensive experience in Ponzi-scheme
      investigations and analysis. Her forensic and fraud investigations have involved working in
      conjunction with the Securities and Exchange Commission, the Federal Trade Commission,
      the Federal Bureau of Investigation and the United States Attorney's Office.
      Ms. Davis has testified in court and depositions and served as a court appointed Assignee for
      the Benefit of Creditors.

      Education

            Bachelor of Business Administration degree, with a major in Accounting from
             Florida Atlantic University, Boca Raton, Florida
            Member and officer of the academic accounting fraternity, Beta Alpha Psi
            Recipient of Florida Institute of Certified Public Accountants academic scholarship

      Professional Qualifications/Affiliations

            Certified Public Accountant, State of Florida
            Certified Insolvency & Restructuring Advisor
            Certified Fraud Examiner
            Association of Insolvency & Restructuring Advisors
            Association of the Certified Fraud Examiners
            American Institute of Certified Public Accountants
            Florida Institute of Certified Public Accountants
            American Bankruptcy Institute
            Bankruptcy Bar Association of the Southern District of Florida
            International Woman’s Insolvency & Restructuring Confederation




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                                      53
                           Melissa Davis, CPA, CIRA, CFE
                            mdavis@kapilamukamal.com




      Speaking Engagements

            Central Florida Bankruptcy Law Association – “What Do Boy Bands and Healthcare
             Have in Common”, July 2014.
            Florida Bar Business Law Section – “Professional Fiduciaries: Responsibilities and
             Duties”; May 2014
            Tampa Bay Bankruptcy Bar Association – “What Do Boy Bands and Healthcare have
             in Common”; March 2014
            Bankruptcy Bar Association of the Southern District of Florida– "Valuation Issues in
             Bankruptcy"; May 2013
            American Bankruptcy Institute Southeast Regional Conference – “Ponzi Schemes and
             Barring Claims Against the Guilty”; July 2012
            Turnaround Management Association – "Current Issues in Real Estate"; April 2012

      Publications

            “Ponzi Schemes: Fiduciaries May Be The “Saving Grace”, ABI Journal (2014)
            “A Health Care Fraud and Bankruptcy Primer”, Southern District of Florida Bankruptcy
             Bar Association Journal (2014)
            "Rising Tide in the Wake of Ponzi", ABI Journal (2013)

      Community Involvement

            Summit Questa Montessori School PTO Treasurer 2013, Auction Chair 2012-2014
            Leukemia & Lymphoma Society Team In Training Participant and Volunteer 2012-
             2014
            Women In Distress - Annual Back to School and Thanksgiving Drives 2011-2013




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                                      53
   Melissa Davis, CPA, CIRA, CFE
   Case Experience

   Hearing Testimony

   FTC v. American Precious Metals, LLC
   Case No. 11-61072-CIV-ZOLCH
   Client – David Chase, Receiver for American Precious Metals, LLC
   Forensic accounting/asset tracing
   Attorney contact – Patrick Rengstl, Levine Kellogg Lehman, Schneider & Grossman - Miami

   Ocean Bank v. Lexington Place Associates, LLC
   Case No. 08-CA-2750
   Client – Ocean Bank
   Forensic accounting/asset tracing
   Attorney Contact – James Robinson, White & Case - Miami

   Atlantic Rolloff Services, Inc.
   Case No. 06-11592-PGH
   Client: Kenneth A. Welt, Chapter 11 Trustee of Atlantic Rolloff Services, Inc.
   Asset sale/allocation accounting
   Attorney contact – Daniel Gonzalez, Meland Russin & Budwick - Miami

   Rothstein Rosenfeldt Adler, PA
   Case No. 09-34791-RBR Chapter 11
   Client – Robert Furr, Chapter 11 Trustee Banyon 1030-32
   Forensic Accounting
   Attorney Contact – Russell Blain, Stichter Riedel, Blain & Prosser, PA – Tampa, FL


   Deposition Testimony

   Banyon 1030-32 v. Maple Leaf Drilling Partners, et. al.
   Case No. 13-01297-RBR
   Client – Robert Furr, Chapter 11 Trustee Banyon 1030-32
   Forensic Accounting
   Attorney Contact – Scott Stichter, Stichter Riedel, Blain & Prosser, PA – Tampa, FL

   Melanie Damien as Receiver for the Estate of Aubrey Lee Price v. KM Homes, LLC
   Case No. 1:12-CV-03977-TCB
   Client – Melanie Damian
   Forensic Accounting
   Attorney Contact- Guy Giberson, Damian & Valori – Miami, FL

   Rothstein Rosenfeldt Adler, PA
   Case No. 09-34791-RBR Chapter 11
   Client – Robert Furr, Chapter 11 Trustee Banyon 1030-32
   Forensic Accounting
   Attorney Contact – Russell Blain, Stichter Riedel, Blain & Prosser, PA – Tampa, FL




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                                      53
   Melissa Davis, CPA, CIRA, CFE
   Case Experience

   PSN Liquidating Trust, Plaintiff v. Intelsat Corporation
   Case No. 02-11913-BKC-AJC Chapter 11
   Client – Soneet R. Kapila, Examiner for PSN Liquidating Trust
   Expert Witness - Insolvency
   Attorney Contact – Edward Griffith, Bolatti Griffith – New York

   Bankest Capital Corp. v. E.S. Bankest, L.C.
   Case No.04-10941-AJC
   Client: Soneet R. Kapila, Chapter 7 Trustee of Bankest Capital Corp.
   Fact Witness – Records/forensic accounting
   Attorney Contact – Kenneth Robinson, Rice Pugatch Robinson Schiller - Ft. Lauderdale

   L. Allen Greenfield v. Terminal Cash Solutions, LLC
   Case No. 05-02375-RBR
   Client: Soneet R. Kapila, Chapter 7 Trustee of Terminal Cash Solutions
   Fact Witness – Records
   Attorney Contact – Lisa Schiller, Rice Pugatch Robinson Schiller - Ft. Lauderdale




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